Case 2:04-cr-20146-.]DB Document 47 Filed 08/02/05 Page 1 of 2 Page|D 43
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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSE}§‘§ n`JG '~? PH- !2:13
WESTERN DIVISION

 

 

UNITES STATES OF AMERICA,
Plaintiff,

v. Cr. No. 04-20146-]3

TAWFlK MOHAMED AL-FAQOUS,

Defendant.

 

ORDER GRANTING DEFENDANT’S
MOTION TO RESE'I` SENTENCING HEARING

 

For good cause shown, and without objection by the government, the Court hereby GRANTS

defendant’ s motion to reset the sentencing hearing currently set for Monday, August l, 2005 at 9 :00

a.m. The Sentencing hearing is hereby RESET mmi Aui)¢,¢,$‘l' (@| ZCU€ @ 3 700 'qm.

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lt is so oRDERED, this the %I day 0fJu1y,2005.

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RABLE J. DANIEL BREEN
UNI ED STATES DISTRICT COUR'I` JUDGE

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Honorable J. Breen
US DISTRICT COURT

